Case 3:07-cr-00765-MHP Document 220 Filed 10/20/10 Page 1 of 9
Case 3:07-cr-00765-MHP Document 220 Filed 10/20/10 Page 2 of 9
Case 3:07-cr-00765-MHP Document 220 Filed 10/20/10 Page 3 of 9
Case 3:07-cr-00765-MHP Document 220 Filed 10/20/10 Page 4 of 9
Case 3:07-cr-00765-MHP Document 220 Filed 10/20/10 Page 5 of 9
Case 3:07-cr-00765-MHP Document 220 Filed 10/20/10 Page 6 of 9
Case 3:07-cr-00765-MHP Document 220 Filed 10/20/10 Page 7 of 9
Case 3:07-cr-00765-MHP Document 220 Filed 10/20/10 Page 8 of 9
Case 3:07-cr-00765-MHP Document 220 Filed 10/20/10 Page 9 of 9
